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                    C HARU N ARANG , E SQ .
13 September 2022


United States District Court
Western District of New York
2 Niagara Square
Buffalo, NY 14202


        Re:      Kunwar v. Ali
                 Case No.: 1:22-CV-690
                 Motion by Letter Request to Seal Exhibits to Verified Complaint


Your Honor:

I am writing to request that the Exhibits referenced in the Verified Complaint be filed under seal
due to the fact that they contain personal information of both parties and their children.
Specifically, the Exhibits contain copies of passports, registration certificates, school
information, etc.

The Exhibits are lengthy and would require extraordinary effort to ensure that all personal
information is redacted. Thank you in advance for your consideration of this Motion by Letter
Request.

Very truly yours,



Charu Narang




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